             Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 1 of 14 PageID: 2362
AO 245B (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT                        RECEIVED
                                                                 District of New Jersey
                                                                                                                    DEC 2 8 2018
  UNITED STATES OF AMERICA
                                                                                                               AT8:30                M
                                                                                                               WILLIA.M T. WALSH CLERK
              v.                                                                 CASE NUMBER        3:16-CR-00230-AET-1

 CARY LEE PETERSON

            Defendant.


                                                                  JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


            The defendant, CARY LEE PETERSON, was represented by ERIC J. MARCY, ESQ.

The defendant was found guilty on counts 1, 2 & 3 by a jury verdict on 5/23/2018 after a plea of not guilty. Accordingly, the
court has adjudicated that the defendant is guilty of the following offenses:

                                                                                                                               Count
 Title & Section                 Nature of Offense                                                   Date of Offense           Numbers

  18:1350                        FALSE CERTIFICATION                                                 12/21/2012                1

  18:1350                        FALSE CERTIFICATION                                                  3/28/2013                2

  15:78J(b) AND                  SECURITIES FRAUD                                                    5/2012-3/2013             3
  78FFA.ND
  17, 240.10b-5


       As pronounced on December 20, 2018, the defendant is sentenced as provided in pages 2 throlJgh 7 of this
judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.                   ·

        It is ordered that the defendant must pay to the United States a special assessment of $300.00 total for counts 1, 2
& 3, which shall be d.ue immediately. Said special assessment shall be made payable to the Clerk, U.S. Distri.ct Court.

        It is further ordered that the defendant must notify the United. States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this _ _&.._/_.tf:.-
                                ___day of December, 2018.

                                                                                     ~.&,~
                                                                                  Anne E. Thompson
                                                                                  Senior U.S. District Judge




85268
             Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 2 of 14 PageID: 2363
AO 2458 (Mod. D/NJ 12/06) Sh_eet 2. • Imprisonment


                                                                                        Judgment - Page 2 of7
Defendant: CARY LEE PETERSON
Case N_umt>er: 3:16-CR-00.230-AET-1



                                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 52 months, on each of Counts 1, 2 & 3, all such counts to be served concurrently.

        The Court recommends to the Bureau of Prisons that the defendant get credit for voluntarily surrendering to
Monmouth County Jail. It is also recommended that the defendant participc1te in ROAP while incarcerated as well as
receiving mental health treatment. The Court further recommends that the defendant be designated to FCI Satellite Camp
in Phoenix, Arizona.

            The defendant will remain in custody pending service of sentence.




                                                           RETURN

            I have executed this Judgment as follows:




      Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ _ _ T o - - - - - - - - - - - - - - - - - - -
At - - - - - - - - - - - - - - - - - - - - - - - - ' with a certified copy of this Judgment.



                                                                                  United States Marshal

                                                                                By _ _ _ _ _ _ _ _ _ _~
                                                                                    Deputy Marshal
             Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 3 of 14 PageID: 2364
/1.0 2450 (Mod. DM.J 12/06) Sheet 3 - Supervised Release


                                                                                              Judg·ment - Page 3 of 7
Defendant: CARY LEE PETERSON
Case Number: 3: 16-CR-00230-AET-1


                                                           SUPERVISED RELEASE

        Upon release from imprisonment, you will be on supervised release for a term of 3 years, this term consists of terms
of 3 years on each of Counts 1, 2 & 3, an such terms to run concurrently.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         Whiie on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply With the mandatory and standard conditions that have been adopted
by this court as set forth below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

             You must cooperate in the collection of DNA as directed by the probation off-icer

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

             You must comply with the following special conditions:

            ALCOHOL TESTING AND TREATMENT

            You must refrain from the use of alcohol, and must submit to urinalysis or other forms of testing to ensure
            compliance. It is further ordered that you must submit to evaluation and treatment, on an outpatient or inpatient
            basis, as approved by the U.S. Probation Office. You must abide by the rules of any program and must remain in
            treatment until satisfactorily discharged by the Court. You must alert all medical professionals of any prior substance
            abuse history, including any prior history of prescription drug abuse. The U.S. Probation Office will supervise your
            compliance with this condition.

             F-INANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, ex·penses, assets and liabilities, to include yearly im:::ome tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individyal and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

             MENTAL HEALTH TREATMENT

            You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
            the Court. As necessary, said t_reatment may also encompass treatment for gambling, domestic violence and/or
            anger management, as approved by the U.S. Probation Office, until discharged by the Court. The U.S. Probation
            Office will supervise your compliance with this condition.

             NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.
             Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 4 of 14 PageID: 2365
AO 2458 (Mcid. 0/NJ 12/06) Sheet 3- Supeniis:ed Rel_ease


                                                                                              Judgment - Page 4 of 7
Defendant: CARY LEE PETERSON
Case Number: 3:16-CR-00230-AET-1




             SELF-EMPLOYMENT/BUSINESS DISCLOSURE

            You must cooperate with the U.S. Probation Office in the investigation and approval of any position of self-
            employment, including any independent, entrepreneurial, or freelance employment or business activity. If approved
            for self-employment, you must provide the U.S. Probation Office with full disclosure of your self~employment and
            other business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request
            for Self-Employment Records), or as otherwise requested by the U.S. Probation Office.

            OCCUPATIONAL R_l;STRICTIONS

            As a further special condition of supervised release, you must refrclin from being involved in the fjnclncial investment
            industry.
             Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 5 of 14 PageID: 2366
AO 2458 (Mod. D/NJ 12/06) Sh_eet 3a • Supervised Release


                                                                                               Judgment - Page 5 of 7
Defendant: CARY LEE PETERSON
Case Number: 3:16-CR-00230-AET-1



                                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standa_rd conditions of supervision. These conditions
are imposed becatJse they establis_h the basic expectations for your behavior while on supervision a_nd identify the minimum
tools needed by probation officers to keep informed, report to the court about, a_nd bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
     how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
     permission from the court or the probation officer.

4)   You must answer truthfully the questions asked by your probation officer.

5)   You must live at a place approved by the probation officer. If you plar:t to change where you live or anything about your
     living arrangements (such as the people you live with}, you must notify the probation officer at least 1O days before the
     change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
     the probation offlcer within 72 hours of becoming aware of a change or expected change.

6)   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
     probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
     view.

7)   You must work full time (at least 30 hours p~r week) at a lawful type of employment, unless the probation officer
     excuses you from doing so. If you do not have fuUtime employment you must try to find full-time employment, unless
     the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
     (such as your position or your job responsibilities), you must notify the probation officer a~ least 1O days before the
     change. If notifying the probation officer at least 10 days in advance is not possible dueto unanticipated
     circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.                                                                           '

B)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
     has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
     the permission of the probation officer.

9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e ..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization}, the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified tt,e person abolJt the risk.
                      Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 6 of 14 PageID: 2367
         AO 24~8 (Mod. D/NJ 12/06) Sh!!Ell 38 • Supervised Release


                                                                                                                      Judgment· Page 6 of 7
         Defendant CARY LEE. PETERSON
         Case Number: 3: 16-CR-00230-AET-1


                                                            STANDARD CONDITIONS OF SUPERVISION

        13) You must follow the instructions of the probation officer related to the conditions of supervision.




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·----------------------------------------------------------.
1
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                              For Official Use Only - - - U.S. Probatjon Office   _       _    _
                                                                                                                         -   .                       -       .


            Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
         or (2) extend the term of supervision and/or modify the conditions of supervision.

             These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

           You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
         associate Probation Officers.                                                                                ·

                                               (Signed>---------------------.......,....--.......,....,.,.,...,,,..,.
                                                             Defendant                               bate


                                                                     U;S. Probation Officer/Designated Witness                          Date
    - --- - --- - --- - --- - - - - - - - - - - - - - - - - - - - - - - - - - - - -= - . . - - - - . - - - - - . - - - . - - - - - - - - - - - - - - - - - - - - - -·
              Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 7 of 14 PageID: 2368
A0_245B (Mod._0/IIIJ 12/06) Sheet_S_· l'lestitution_and_Forfeiture


                                                                                                   Judgment - Page 7 of 7
Defendant: CARY LEE PETERSON
Case Number: 3:16-CR-00230-AET-1



                                                                     RESTITUTION AND FORFEITURE


                                                                            RESTITUTION

          The defenda_ntshal_l make restitution in the amount of $205,167.22. The Court will waive the interest requirement
in this case. Payments should be mcide payable to the U.S. Treasury and mailed to Clerk, U.S.D.C., 402 East State Street,
Rm 2020; Trenton, New Jersey 08608, for proportioncite distribution to the following victims i_n the following amounts:

              Name of Payee (Victim)                                                         Amount of Restitution




                                                                SEE ATIACHED REPORT



         The restitution is due immediately. It is recommended that you participate in the Bureau of Prisons Inmate Financial
Responsibility Program (IFRP). If you participate in the IFRP, the restitution wi"II be paid from those funds at a rate equivalent
to $25 every 3 months. In the event the entire restitution is not paid prior to the commencement of supervision, you must
satisfy the amount due in monthly installments of no less than $250, to commence 60 days after release from confinement.




        Unless the court has expressly ordered ot_herwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. AU criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution i_nterest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
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3:16-cr-00230 CARY LEE PETERSON (1)                                  V-1
Restitution of $205,167.22 to:

 AA                                   AA-RIEC
 $4,075.00                            $1,450.00



 ADH&KMHJ                             AFM
 $2,300.00                            $97.52



  AG                                  ALD
  $52.50                              $10.00



 AN                                   AO
 $490.00                              $220.00



 AR                                   AS
 $15.00                               $770.00



 AV                                   BAH&CAHJT
 $120.00                              $2,350.00



 BD&TTJ                               BDF
 $3,034.79                            $221.66



 BDW                                  BBC
 $180.40                              $120.00



 BKB                                  BMK&ELKJ
 $46.20                               $24,359.27



 BMS                                  BSB
 $750.00                              $390.90



 BWP                                  CA
 $1,743.39                            $96.75



 CAD                                  CAH
 $665.00                              $1,496.14
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3:16-cr-00230 CARY LEE PETERSON (1)                                  V-2




  CK                                  CLP
  $856.75                             $180.00



  CM-RIEC                             CR
  $1,583.40                           $11,930.73



  cs                                  CWB
  $8,526.60                           $4.00



  DCW                                 DOM
  $11.00                              $2,900.00



  DEH                                 DLB&JLBJT
  $12.00                              $100.00



  ON                                  DR
  $110.00                             $155.00



  ORA                                 DRLJTSTSTR
  $300.00                             $40.00



  DRN&SNJ                             OS
  $480.00                             $49.32



  DWQ                                 EAA&JLAJ
  $2,841.22                           $1,174.89



  EASB                                EBJI
  $166.50                             $60.06



  ECS                                 EL
  $18.50                              $490.00



  ERO                                 FCCIFLC
  $179.00                             $1,144.52
Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 10 of 14 PageID: 2371



3:16-cr-00230 CARY LEE PmRSON (1)                                     V-3



  FCCIRFMAM                         FCCIRFMDF
  $80.00                            $60.00



  FC-RIFARJ                         FC-RIFBGG
  $149.50                           $905.30



  FC-RIFTH                          FCTFPAFDGJ-D
  $57.50                            $6,338.52



  GK-CS&CICSI                       GLH&MRHJ
  $406.00                           $317.64



  GNI                               GTS
  $84.00                            $2,417.66



 GTZJSC                             HL
 $170.40                            $57.00



 HL                                 JAE
 $375.00                            $1,050.00



 JAMCS&CICR                         JEC
 $568.13                            $111.00



 JJH                                JJP
 $358.65                            $62.50



 JJP&JLPJT                          JK
 $757.50                            $60.00



 JLR-EC                             JMC
 $87.29                             $560.00



 JMH                                JMK-IFAC
 $19.90                             $55.00
Case 3:16-cr-00230-AET Document 156 Filed 12/28/18 Page 11 of 14 PageID: 2372



3:16-cr-00230 CARY LEE PETERSON (1)                                   V-4


  JNJ                                 JSR
  $1,039.50                           $80.00



  JST                                 NC
  $150.00                             $636.00



  'JW                                 KMM
  $578.40                             $7.50



  KS                                  KT
  $324.80                             $100.00



  LBDJB                               LCS-S&CIC
  $106.00                             $280.00



  LW-CS&CII                           LWN
  $45.00                              $937,50



  MAG                                 MAl(
  $3,227.25                           $40.00



  MAO                                 MF
  $1,468.00                           $6,360.00



  MID                                 MJH
  $79.32                              $329.82



  ML                                  ML
  $754.75                             $900.00



  MLB                                 MLO
  $700.00                             $561.50



  MLS&ASSJ                            MRH
  $445.00                             $150.00
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3:16-cr~00230 CARY LEE PETERSON (1)                                   V-5


  MIT&NHTJ                            MWBJ
  $675.00                             $140.58


  NBR&FRJT                            NLP
  $120.00                             $439.55


  NPT                                 NY-S&CICRC
  $180.00                             $1,544.10


  OZWMAFrOZW                          PAS
  $2,580.00                           $299.68


  PJW                                 PS
  $37.80                              $679.09


  PVH&TRFJT                           PY-S&CICR
  $1,696.62                           $522.00


  RELCS&CICIR                         RH
  $106.50                             $31.50


  RJB                                 RL
  $120.00                             $640.00


  RLW                                 RMHKDW
  $155.50                             $41.02


  RMT&SLTJ                            RN
  $561.51                             $20,950.00


  RRS                                 RVN
  $7,602.19                           $297.50



  SB                                  SBK
  $479.56                             $391.10
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3:16-cr-00230 CARY LEE PmRSON (1)                                     V-6


  SC                                SCKCEAKU
  $45.00                            $399.96



  SE                                SH
  $542.83                           $28.30



  SICFCHRI                          SICFGPBI
  $1,250.00                         $7,891.95



  SICFMiCI                          SICFWADRI
  $175.00                           $1,900.00



  SK                                SLS
  $24,396.02                        $90.00



  SLS                               SN
  $80.00                            $115.30



  SNJ                               SP
  $120.00                           $152.60



  SPG                               ST&DDJ
  $33.70                            $21.00



  TBT2BLAMTL                        TDF
  $40.20                            $24.50



  TJD                               TLB-RIEC
  $2,189.00                         $0.70



  TI                                TW
  $1,200.00                         $7,593.50



  TWS                               UFSBCSRJJL
  $40.00                            $11.02
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3:16-cr-00230 CARY LEE PETERSON (1)                                   V-7


  VL                                  VLB
  $2,200.00                           $500.00



  WAB                                 WL
  $67.00                              $916.00



  YTA                                 ZEL
  $36.00                              $40.00
